* " UNITED STATES DISTRICT COURT
- EASTERN DISTRICT GF NEW YORK

Atty Leh she

COMPLAINT

NAME OF PLAINTIFF(S) CV 05 20 6 3 :

dd techs oles Mics Wingo...

52 brubiony |
hMeurl SY MUOOF KORMAN, cH 4 “apa! Hie
BLOOM. Ma. mec er ores.

NAME OF DEFENDANT(S)
This action is brought for discrimination in employjngnt pursuant to (check only those
that apply):

al Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. $§

2000 to 2000e-17 (amended in 1972, 1978 and by the Civil Rights
Act of 1991, Pub. L. No. 102-166} (race, color, gender, religion,
national origin).

NOTE: Jn arder to bring a suit in federal district court under

Title VIE you must first obtain a right to sue letter from the Equal
Employment Oppertunity Connmission.

 

 

we

Age Discrimination in Employment Act of 1967, as codified, 29
U.S.C. §§ 621 - 634 (amended in 1984, 1990, and by the Age
Discrimination in Employment Amendments of 1986, Pub. L. No.
99-592 , the Civil Rights Act of 1991, Pub. L. No. 102-166).
NOTE: in order to bring a suit in federal district court under the
Age Discrimination in Employment Act, you must first file charges
with the Equal Employment Opportunity Commission.

Americans with Disabilities Act of 1990, as codthed, 42 U.S.C. §§
12112 - 12117 (amended by the Civil Rights Act of 1991, Pub. L.
No. 102-166).

NOTE: J order to bring suit in federal district court under ike
Americans with Disabilities Act, you must first obtain a right to
sue letter from the Equal Employment Opportunity Commission.

 
@ G

Jurisdiction is specifically conferred upon this United States District Court by the
aformentioned statutes, as well as 28 U.S.C. $§ 1331, 1343. Jurisdiction may also be appropriate
under 42 U.S.C. 8§ 1981, 1983 and 1985(3), as amended by the Civil Rights Act of 1991,

Pub. L. So. 102-166, and anv related claims under New York law.

Ptaintiff resides at:

£23 Luk Col Sool?

Street Address

Pinée hy, err _ Up tig.voay

Géunty State Zip Code Telephone Number

2. Defendant(s} resides at, or its business is located at: barbie ae (ae

9 of. -
LER GE Rid (ors obbe. ast (Z Ay SY
eet Address
Lugs. Saab Wy fa
ounty State Zip Code
3, The address at which I sought employment or was employed by the defendant(s) ts:

LPR LE Lei gt tole a (TSS)

Street Address

County Ce State Zip Code

 
: e ©
4. The discriminatory conduct of which I compiain in this ee ve
{check only those that appry).
Failure to hire.
Termination of my employment.
Failure to promote.
Failure to accommodate my disability.
Unequal terms and conditions of my emptoyment,
Retaliation

Other acts (specify): Ve brhal Vile Bett 2, Ascott

NOTE: Only those grounds raised in the charge filed with the Equal Employment Opportunity
Commission can be considered by the federal district court.

WAN Pd

5. It is Ay best recollection Boot the alleged discriminatory acts occurred on:

° oG
hts Apel, t OOF
6. | believe that the defendant(s) (check one}
is still committing these acts against me.
ee is not still committing these acts against me.
7, Defendant(s) discriminated against me based on my:

{check only those that apply and state the basis for discrimination, for example,
what ts your religion, if religious discrimination is alleged)

 

 

 

[j race {1 color

f ] gender/sex_ (4 religion __
[} national origia

(] age My date of birth is:

 

Date
[] disability _

NOTE: Only those grounds raised in the charge filed with the Equal Employment Opportunity
Commission can be considered by the federal district court.

 
- & &

8. The facts of my case are as follows:

[spe ekbichic/)

 

 

 

 

 

 

 

 

(Attach additional sheets as necessary)

Note: As additional support for your claim, you may attach to this complaint a copy of
the charge filed with the Equal Employment Opportunity Commission, the New
York State Division of Human Rights, or the New York City Commission on
Human Rights.

9. {t is my best recollection that I filed a charge with the New York State Division of Human
Rights or the New York City Commission on Human Rights regarding defendant's

alleged discriminatory conduct on:

 

Date

10. It ig my best recollection that | filed a charge with the Equal Employment Opportunity

Commission regarding defendant's alleged discriminatory conduct on: UE Y CS |.
Date

 
@ ©

I have worked with Ms, Barbara Code for three years. Ms. Code was the Union

Representative al 1, §. 59Q. In April 2004, 1 had told Ms. Code that I was having
difficulty obtaining a key from the custodians to my room. However, Ms. Code refused to
listen to me. I decided to call the Union Representative Office located in Queens,
The next day, I went upstairs to the teacher’s lounge to make coffce for the teacher. I
heard someone knocking on the door, Therefore, I opened the door, Ms. Code, Ms. Nater
and Ms. Vera Williams were standing there. Ms Codo had her hands up in a threatening
manner and she called me *A SICK MINDED WOMAN”, I backed up because she kept
coming towards me and I fell threatened. Ms, Nater grabbed me and held ime, Ms. Cade
kept verbally harassing me, throwing her hands up in my face, cursing and yelling at the
top of her voice.

Finally, I looked at Ms. Code and I said to her, “You are not supposed to be on
the second floor because you stated that you could not climb the stairs because of your
illness. However, you are upstairs cursing, threatening and harassing me for no reason.” |
told Ms, Code her that all I asking her for was some help in getting a key to my
classroom, but to no avail, she kept on yelling and cursing. I informed her that I was
going to tell Ms. Weingarten, President of the United Federal of Teachers about the
incident, which 1 did. Ms. Code stated, “That’s the problem with you; you’re always
going outside the school and telling what is happening.” I told Ms. Code again that I was
eoing to call. Ms. Code told me to kiss her ass and she left,

I told Ms. Nater and Ms. Williams that I did not like the idea of them setting me
up. Several teachers have entered the teacher’s lounge for coffee and breakfast. Mr.
Smith, Assistant Principal was called to the teacher’s lounge and he asked me to go
downstairs with him. J told him no, but everyday I purchased and made breakfast for the
teachers and I was noi bothering anyone. I continued i¢ make the teacher’s their
breakfast.

Since this incident, Ms, Code failed to represent me as the Union Representative.
I believe that this is because of the incident that I filed against Dr. Stapleton and
retalialion against me for rcperting her to Ms. Weingarten’ Office.

 
Only litigants alleging age discrimination must answer Question #11,
dl. Since filing my charge of age discrimination with the Equal Employment Opportunity
Commission regarding defendant’s alleged discriminatory conduct (check one},

ia 6) days or more have elapsed.

less than 60 days have elapsed.

12, The Equal Employment Opportunity Commission {check one}:

has not issued a Right to Sue letter.

LO hag issued a Right to Sue letter, which !
received on 7, BOGS,
, e
NOTE: Attach a copy of the Right to Sue Letter from the Equal Employment Opportunity

Commission to this complaint.

WHEREFORE, plaintiff prays that the Court grant such relief as may be appropriate,
including injunctive orders, damages, costs, and attorney’s fees.

Hp WX,

PLAINTZEF'S SIGNATURE

Dated: Lig}

693 Brack bE. Sfro4

Adalress

oye , MY bbEGe
UG IPE MOA SE

Phone Number

 
©

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office
33 Whitchail Street, 5° Floor
New work, NY [0004-7112
Phones (2712) 336-3620
Williant Jal General Fax: (212) 336-3625
Supervisory Investigator . TU: (212) 336-3622
Phone (212) 336-3676
Fax (212) 336-3621

 

January 27, 2005

Ms. Marty White
623 Beach 63 Street
Arverne, NY 11692

Re: Charge No. 160-2005-00739, NYC Department of Education v
160-2065-G07 4), United Federation of Teachers

Dear Ms, White:

The Equai Employment Opportunity Commission (herematter referred to as the "Commission"),
implemented charge prioritization procedures. The procedures, which are bascd on allocation of
the Commission's staff resources, apply to all open charges tn our inventory and call for us to
focus our limited resources on these cases that are most likely to result in findings of violations

of ihe laws we enforce.

In accordance with these procedures, we have evaluated your charges against your employer

and your union based upon information and evidence you submitted. There is insufficient
information to establish that violations of the laws enforced by the EEGC have occurred because
of your race and/or retaliation. It is not likely that further mvestigation will result in @ violation
finding. The Commission has decided not to pursue further with your charges.

This determination is final. Attached are copies of your Dismissal and Notice of Rights. Ifyou
went to pursue this matter further in federal court, your lawsuit must be filed within 90 days of
your receipt of the Notice.

Sincerely

Wiiliam Lai
Supervisory Investigator

Altachments

 
EGS Fon 161 (ny Liege EMPLOY MENTOOPRORFUNH YG OMeEsIon
fh

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

"To: Mary White From: New York District Office
623 Beach 63rd Street 33 Whitehall Street
Arverne, NY 17692 Sth Floor
New York, N¥ 16004
On behalf of person(s) aggraved whose idelfity fs
CONFIDENTIAL (29 CAR § 7801. 7fa]}
FEO Chares Ne. EEOC Representative Telephone Na,
William Lai,
160-2005-00739 Supervisory Investigator (212) 336-3676

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

WU BUD Ub oo

The facts alleged In the change fall to slate a claim under any of the statutes enforced by the EECK.

Your allegations did not Involve a disability as dafined by the Americans with Disabililles Act,
The Respendent employs fess than the required numbar of employees of is not othearalsa covered by thie statutes.

Your charge was nol timely filed with BEGG; in other words, you waited too long aller the date(s) of the alleged disor mination %¢ file your
charge.

Having been given 30 days In which [o respond, you failed fa provide information, falled ta appear or be available for
Intendews/confarencas, of atnenvise failed to cooperate to the extent ihat if was nol possible to resolve your charge.

While reasonable offorts were made to locate you, we Wee rot abla ig de so,

‘You were given 30 days to accapt a reasonable seltement offer that affords full relief for the harm you alleged,

The EEOC issues the idlewing detarmination: Based upon its investigation, the EEOC is unable to conclude thal the Information abtained
establishes violations of the slatutes. This does net certify that the respondentis in compliance with tha statutes. No finding is made as
Io any other issues that might be construed as having been raised by this charge.

The EEC has adopted tha findings of the slate or local fair employment practloes agency that Investigated this charge.

Other (hrefiy state)

- NOTICE OF SUIT RIGHTS -
(See fie acditianal information attached fe ils fori)

Title Vil, the Americans with Disabilifles Act, and/or the Age Discrimination in Employment Act: This will be the only

notice of d

ismissal and of your right to sug that we will send you. You may file a jawsuit against the respondent(s) under

federal law based on this charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of yaur recelpt
of this Notice; or your right to sue based on this charge will be lost. (The time timit for filing suit based on a state claim may
be different. }

Equal Pay Act (EPA: EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years}
before you fila sult may not be collectible.

Enclosure (s}

Cl

On behalf of the Garnmission

eee DV pees Zr JAN 2 7 2005.

Spencer H. Lewis, Jr., (/ (Date Matted}
Director

NYC DEPARTMENT OF EDUCATION
c/o Rabin Greenfield, Deputy

52 Chambers Street - Room 308
Hew York, N¥ 10007

 
